Case 2:14-bk-30849-SK           Doc 33     Filed 01/04/18      Entered 01/04/18 13:17:09           Desc
                                             Page 1 of 3




                           UNITED STATES BANKRUPTCY COURT
                             CALIFORNIA CENTRAL DISTRICT


In re:                                                      Case No. 14-30849-SK
         Delray M Richardson
         Carla C Richardson
                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Kathy A. Dockery, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 11/05/2014.

         2) The plan was confirmed on 01/08/2015.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 05/19/2017.

         5) The case was completed on 11/07/2017.

         6) Number of months from filing to last payment: 36.

         7) Number of months case was pending: 38.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $27,482.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Case 2:14-bk-30849-SK              Doc 33       Filed 01/04/18       Entered 01/04/18 13:17:09                Desc
                                                  Page 2 of 3



Receipts:

         Total paid by or on behalf of the debtor                   $8,192.59
         Less amount refunded to debtor                                 $0.00

NET RECEIPTS:                                                                                          $8,192.59


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                      $2,700.00
    Court Costs                                                                    $0.00
    Trustee Expenses & Compensation                                              $399.68
    Other                                                                          $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                      $3,099.68

Attorney fees paid and disclosed by debtor:                      $1,300.00


Scheduled Creditors:
Creditor                                            Claim         Claim            Claim       Principal      Int.
Name                                   Class      Scheduled      Asserted         Allowed        Paid         Paid
ABC Chiropractic Health Center      Unsecured           140.00           NA              NA            0.00       0.00
ADLER WALLACH & ASSOCIATES, IN Unsecured                539.00        477.94          477.94          37.92       0.00
AMERICAN INFOSOURCE LP              Unsecured        2,999.00       2,998.13        2,998.13        237.87        0.00
AMERICAN INFOSOURCE LP              Unsecured           847.00        813.51          813.51          64.54       0.00
Assisted Credit Services Inc.       Unsecured            34.00           NA              NA            0.00       0.00
AT&T MOBILITY II, LLC               Unsecured              NA         190.08          190.08          15.08       0.00
Awa Collections                     Unsecured           364.00           NA              NA            0.00       0.00
CACH, LLC                           Unsecured        3,341.00            NA              NA            0.00       0.00
CAVALRY SPV I, LLC                  Unsecured        1,671.00       1,671.54        1,671.54        132.62        0.00
CAVALRY SPV I, LLC                  Unsecured        8,190.00       8,189.74        8,189.74        649.77        0.00
CBS Studios Inc./Michael Eames      Unsecured              NA            NA              NA            0.00       0.00
Citibank Sd, Na                     Unsecured              NA            NA              NA            0.00       0.00
Credit Coll                         Unsecured           436.00           NA              NA            0.00       0.00
DEPARTMENT STORES NATIONAL BA Unsecured                 238.00        301.81          301.81          23.95       0.00
DEPARTMENT STORES NATIONAL BA Unsecured                 928.00        927.81          927.81          73.61       0.00
eCAST SETTLEMENT CORPORATION Unsecured               1,134.00       1,134.86        1,134.86          90.04       0.00
eCAST SETTLEMENT CORPORATION Unsecured               7,370.00       7,369.91        7,369.91        584.73        0.00
Goodyr/cbna                         Unsecured           574.00           NA              NA            0.00       0.00
Humberto Gonzalez, Jr.              Unsecured              NA            NA              NA            0.00       0.00
LBS FINANCIAL CREDIT UNION          Unsecured           497.00        487.88          487.88          38.71       0.00
MemoriaCare Medical Foundation      Unsecured              NA            NA              NA            0.00       0.00
Michael Eames/ Pen Music Group Inc. Unsecured       39,755.00            NA              NA            0.00       0.00
NAVIENT SOLUTIONS, INC.             Unsecured       37,149.00     37,322.25        37,322.25      2,961.15        0.00
Nco Financial                       Unsecured           105.00           NA              NA            0.00       0.00
Portfolio Recovery Associates, LLC  Unsecured        6,797.00            NA              NA            0.00       0.00
PORTFOLIO RECOVERY ASSOCIATES Unsecured              2,305.00       2,305.49        2,305.49        182.92        0.00
Progressive Management              Unsecured           618.00           NA              NA            0.00       0.00
Progressive Managment               Unsecured           150.00           NA              NA            0.00       0.00
Tender Touch Natus Pelaton          Unsecured           195.00           NA              NA            0.00       0.00
United Recovery Systems, LP         Unsecured           302.00           NA              NA            0.00       0.00




UST Form 101-13-FR-S (9/1/2009)
Case 2:14-bk-30849-SK           Doc 33      Filed 01/04/18       Entered 01/04/18 13:17:09           Desc
                                              Page 3 of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00              $0.00             $0.00
       Mortgage Arrearage                                      $0.00              $0.00             $0.00
       Debt Secured by Vehicle                                 $0.00              $0.00             $0.00
       All Other Secured                                       $0.00              $0.00             $0.00
 TOTAL SECURED:                                                $0.00              $0.00             $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                             $64,190.95          $5,092.91              $0.00


Disbursements:

         Expenses of Administration                             $3,099.68
         Disbursements to Creditors                             $5,092.91

TOTAL DISBURSEMENTS :                                                                        $8,192.59


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 01/04/2018                             By:/s/ Kathy A. Dockery
                                                                    Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
